           Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 1 of 14




1                                                                  The Honorable Robert J. Bryan

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8
                            UNITED STATES DISTRICT COURT
9                          WESTERN DISTRICT OF WASHINGTON

10     STATE OF WASHINGTON,                               CIVIL ACTION NO. 3:17-cv-05806-RJB
11                            Plaintiff,                  DECLARATION OF LA ROND
                                                          BAKER IN SUPPORT OF
12                v.                                      WASHINGTON’S RESPONSE TO
                                                          THE GEO GROUP, INC.’S MOTION
13     THE GEO GROUP, INC.,                               FOR SUMMARY JUDGMENT
14                            Defendant.                  NOTE ON MOTION CALENDAR:
                                                          November 30, 2018
15
                                                          ORAL ARGUMENT REQUESTED
16

17

18

19   I, La Rond Baker, declare as follows:

20          1.     I am over the age of 18 and have personal knowledge of all the facts stated herein.

21          2.     I am an Assistant Attorney General in the Civil Rights Unit of the Washington

22          State Attorney General’s Office.

23          3.     Attached hereto as Exhibit A, is a true and correct copy of Defendant The GEO

24          Group, Inc.’s Responses to Plaintiff State of Washington’s First Requests for

25          Admissions.

26

       DECLARATION OF LA ROND BAKER IN                   1              ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Unit
       SUPPORT OF WASHINGTON’S RESPONSE                                      800 Fifth Avenue, Suite 2000
       TO THE GEO GROUP, INC.’S MOTION FOR                                     Seattle, WA 98104-3188
                                                                                    (206) 464-7744
       SUMMARY JUDGMENT
        Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 2 of 14




1        DATED this 26th day of November, 2018, at Seattle, Washington.

2

3                                          s/La Rond Baker
                                           LA ROND BAKER, WSBA No. 43610
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     DECLARATION OF LA ROND BAKER IN              2             ATTORNEY GENERAL OF WASHINGTON
                                                                           Civil Rights Unit
     SUPPORT OF WASHINGTON’S RESPONSE                                800 Fifth Avenue, Suite 2000
     TO THE GEO GROUP, INC.’S MOTION FOR                               Seattle, WA 98104-3188
                                                                            (206) 464-7744
     SUMMARY JUDGMENT
           Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 3 of 14




 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that the foregoing document was electronically filed with the United
 3   States District Court using the CM/ECF system. I certify that all participants in the case are
 4   registered CM/ECF users and that service will be accomplished by the appellate CM/ECF
 5   system.
 6
     November 26th, 2018
 7                                               s/Caitilin Hall
                                                 CAITILIN HALL, Legal Assistant
 8

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       DECLARATION OF LA ROND BAKER IN                                ATTORNEY GENERAL OF WASHINGTON
                                                                                 Civil Rights Unit
       SUPPORT OF WASHINGTON’S RESPONSE                                    800 Fifth Avenue, Suite 2000
       TO THE GEO GROUP, INC.’S MOTION FOR                                   Seattle, WA 98104-3188
                                                                                  (206) 464-7744
       SUMMARY JUDGMENT
Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 4 of 14




                         BAKER DECLARATION
                                                 EXHIBIT A
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 5 of 14



 1                                                               The Honorable Robert J. Bryan
 2
 3
 4
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 7
 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9
     STATE OF WASHINGTON,                                  No. 17-cv-05806-RJB
10
                    Plaintiff,                             DEFENDANT THE GEO GROUP, INC.’S
11                                                         RESPONSES TO PLAINTIFF STATE OF
            v.                                             WASHINGTON’S FIRST REQUESTS
12                                                         FOR ADMISSIONS
     THE GEO GROUP, INC.,
13
                    Defendant.
14
15
16
17     THE GEO GROUP, INC’S RESPONSES TO PLAINTIFF’S FIRST REQUESTS FOR
                                 ADMISSIONS
18
            Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”)
19
     and the Local Rules of the U.S. District Court for the Western District of Washington (the “Local
20
     Rules”), Defendant The GEO Group, Inc. (“GEO”) responds and objects to Plaintiff’s First
21
     Requests for Admissions.
22
                       OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS
23
            GEO objects to Plaintiff’s definition of “document” in paragraph 3.5 as inapplicable and
24
     irrelevant to Plaintiff’s First Requests for Admissions. GEO will define any documents, to the
25
     extent that they exist, in accordance with its responses to Plaintiff’s First Requests for Production.
26
     GEO defines “document” according to its definition in Fed. R. Civ. P. 34(a)(1)(A). GEO further
27
     STATE OF WASHINGTON v. GEO GROUP                                      III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                                  Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                                               Fircrest, WA 98466
                                                                                  253-566-2510 ph
                                                                              joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 6 of 14



 1   objects to Plaintiff’s definition of “document” to include “messages and/or attachments now only
 2   available on backup or archive tapes or disks” as not reasonably accessible, unduly burdensome,
 3   and outside of the scope of discovery.         GEO further objects to Plaintiff’s definition of
 4   “document” referring to or invoking Washington State Rules of Evidence to the extent that the
 5   Washington State Rules of Evidence purport to impose obligations on GEO beyond the
 6   requirements of the Federal Rules of Evidence. GEO therefore objects to Plaintiff’s definition of
 7   “writings” and “records” to the extent it cites to the Washington State Rules of Evidence (“ER
 8   1001(a)”) and not the applicable Federal Rules of Evidence.              GEO will comply with any
 9   discovery obligations as they exist in the Federal Rules of Evidence.
10          GEO objects to Plaintiff’s definition of “ICE” (Immigrations and Customs Enforcement)
11   in paragraph 3.6 as overly broad. GEO defines ICE only to include the agency of the United
12   States Department of Homeland Security, ICE employees, and any other persons or entities acting
13   on behalf of or under the direction, authorization, or control of ICE.
14          GEO objects to Plaintiff’s definitions of “Identify” included in paragraphs 3.7 through
15   3.10 as inapplicable and irrelevant to Plaintiff’s First Requests for Admissions.
16          GEO objects to Plaintiff’s definition of “state the basis” in paragraph 3.15 as inapplicable
17   and irrelevant to Plaintiff’s First Requests for Admissions. GEO further objects to the definition
18   of “state the basis” as outside the scope of discovery as defined by Fed. R. Civ. P. 26(b)(1) to the
19   extent that it seeks information not relevant to any party’s claims or defenses. GEO will respond
20   to Plaintiff’s First Requests for Admissions in accordance with Fed. R. Civ. P. 36(a).
21          GEO objects to Plaintiff’s definition of “You,” “Your,” and “GEO Group” in paragraph
22   3.16 as overly broad and unduly burdensome to the extent that the request seeks information
23   relating to persons or entities that are separate and distinct from GEO and over whom GEO
24   exercises no control. GEO further objects to these definitions to the extent that the request
25   includes GEO attorneys and, therefore, improperly seeks information protected by the attorney-
26   client privilege, the work product doctrine, the common interest privilege, and/or any other
27   applicable privileges or immunities. In responding to these requests, GEO interprets the terms
     STATE OF WASHINGTON v. GEO GROUP                                         III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                                     Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                   1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                   -2-                            Fircrest, WA 98466
                                                                                     253-566-2510 ph
                                                                                 joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 7 of 14



 1   “You,” “Your,” and “GEO Group” to refer only to the named party in this action and any entities
 2   GEO has the legal right to control.
 3          GEO objects to Instruction 4.1 as inapplicable and irrelevant to Plaintiff’s First Requests
 4   for Admissions to the extent that Plaintiff seeks production of documents. GEO will produce any
 5   documents, to the extent that they exist, in accordance with its responses to Plaintiff’s First
 6   Requests for Production. GEO will respond to Plaintiff’s First Requests for Admissions in
 7   accordance with Fed. R. Civ. P. 36(a).
 8          GEO objects to Instruction 4.2 to the extent that it seeks to impose discovery obligations on
 9   GEO, pursuant to Washington State Rules of Civil Procedure (“CR 26(e)”), beyond the requirements
10   of the Federal Rules of Civil Procedure. GEO will supplement any responses to Plaintiff’s First
11   Requests for Admissions, should they be necessary, in accordance with Fed. R. Civ. P. 26(e).
12          GEO objects to Instruction 4.6, which instructs GEO to produce “all earlier editions or
13   predecessor documents,” as inapplicable and irrelevant to Plaintiff’s First Requests for
14   Admissions to the extent that Plaintiff seeks production of documents. GEO will produce any
15   documents, to the extent that they exist, in accordance with its responses to Plaintiff’s First
16   Requests for Production.
17          GEO objects to Instruction 4.7(a)-(c) as inapplicable and irrelevant to Plaintiff’s First
18   Requests for Admissions to the extent that Plaintiff seeks production of documents. GEO will
19   produce any documents, to the extent that they exist, in accordance with its responses to
20   Plaintiff’s First Requests for Production.
21          GEO objects to Instruction 4.8 as inapplicable and irrelevant to Plaintiff’s First Requests
22   for Admissions to the extent that Plaintiff seeks, and describes the procedure for production of,
23   documents. GEO will produce any documents, to the extent that they exist, in accordance with its
24   responses to Plaintiff’s First Requests for Production.
25          GEO objects to Instruction 4.9 as inapplicable and irrelevant to Plaintiff’s First Requests
26   for Admissions to the extent that Plaintiff seeks, and describes the procedure for production of,
27
     STATE OF WASHINGTON v. GEO GROUP                                      III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                                  Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                   -3-                         Fircrest, WA 98466
                                                                                  253-566-2510 ph
                                                                              joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 8 of 14



 1   documents. GEO will produce any documents, to the extent that they exist, in accordance with its
 2   responses to Plaintiff’s First Requests for Production.
 3          GEO objects to Instruction 4.10 as inapplicable and irrelevant to Plaintiff’s First Requests
 4   for Admissions to the extent that Plaintiff seeks, and describes the procedure for production of,
 5   documents. GEO will take reasonable measures to preserve documents, to the extent that they
 6   exist, in accordance with its responses to Plaintiff’s First Requests for Production.
 7          GEO objects to Instruction 4.11 as inapplicable and irrelevant to Plaintiff’s First Requests
 8   for Admissions to the extent that Plaintiff seeks, and describes the procedure for production of,
 9   documents. GEO will produce any documents, to the extent that they exist, in accordance with its
10   responses to Plaintiff’s First Requests for Production.
11          GEO objects to Instruction 4.12 on the grounds that it is unduly burdensome and expands
12   GEO’s obligations beyond those required by the Federal Rules of Civil Procedure. GEO will
13   respond to Plaintiff’s First Requests for Admissions in accordance with Fed. R. Civ. P. 36(a).
14          GEO objects to Instruction 4.13 as inapplicable and irrelevant to Plaintiff’s First Requests
15   for Admissions to the extent that Plaintiff seeks, and describes the procedure for production of,
16   documents. GEO will produce any documents, to the extent that they exist, in accordance with its
17   responses to Plaintiff’s First Requests for Production.
18                      RESPONSE TO FIRST REQUESTS FOR ADMISSIONS
19   REQUEST FOR ADMISSION NO. 1:             Please admit that The GEO Group, Inc. owns the
     Northwest Detention Center located at 1623 J Street, Tacoma, Washington.
20
     RESPONSE TO NO. 1: Admit in part, deny in part. The GEO Group, Inc. affiliates own the
21
     Northwest Detention Center (“NWDC”); however, NWDC is located at 1623 East J Street,
22
     Tacoma, Washington 98421.
23
     REQUEST FOR ADMISSION NO. 2:            Please admit that The GEO Group, Inc. has
24   operated the Northwest Detention Center since November 2005.
25   RESPONSE TO NO. 2: Admit. The GEO Group, Inc. has operated the Northwest Detention

26   Center pursuant to a federal contract, subject to federal controls, including those regulations

27   applicable to prisons, so that the Department of Homeland Security – Immigration and Customs
     STATE OF WASHINGTON v. GEO GROUP                                      III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                                  Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                   -4-                         Fircrest, WA 98466
                                                                                  253-566-2510 ph
                                                                              joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 9 of 14



 1   Enforcement (“ICE”) has been able to fulfill its immigration processing obligations in a safe and
 2   secure manner since at least 2005.
 3
     REQUEST FOR ADMISSION NO. 3:             Please admit that the Northwest Detention Center
 4   is not owned or operated by a municipality of Washington State.
 5   RESPONSE TO NO. 3: Admit.             However, the NWDC is a federal immigration processing
 6   center that has always operated its detention work programs like those operated by local
 7   governments that do not pay local minimum wages to program participants.
 8   REQUEST FOR ADMISSION NO. 4:             Please admit that the Northwest Detention Center
     is not owned or operated by a county of Washington State.
 9
     RESPONSE TO NO. 4: Admit. However, the NWDC is a federal immigration processing
10
     center that has always operated its detention work programs like those operated by Pierce County,
11
     including the Pierce County jail, that do not pay local minimum wages to program participants.
12
     REQUEST FOR ADMISSION NO. 5:              Please admit that the Northwest Detention Center
13   is not owned or operated by the State of Washington.
14   RESPONSE TO NO. 5: Admit. However, the NWDC is a federal immigration processing
15   center that has always operated its detention work programs like those operated by state
16   governments and its private contractors that do not pay state minimum wages to program
17   participants.
18   REQUEST FOR ADMISSION NO. 6:              Please admit that the Northwest Detention Center
     is not owned or operated by the federal government.
19
     RESPONSE TO NO. 6: Admit in part, deny in part.            The federal government leases the
20
     premises, enforces statutory and regulatory compliance, and provides oversight to the
21
     immigration processing activities at the facility, including the Voluntary Work Program. The
22
     NWDC operates under contract with the Department of Homeland Security – Immigration and
23
     Customs Enforcement (“ICE”). The terms of the contract require GEO to operate a Voluntary
24
     Work Program, like those work programs excluded from the Minimum Wage Act under state law.
25
     REQUEST FOR ADMISSION NO. 7:              Please admit that, The GEO Group, Inc.
26   compensates detainee workers who participate in the Voluntary Work Program by
     depositing the $1 pay into detainee-workers’ commissary accounts.
27
     STATE OF WASHINGTON v. GEO GROUP                                   III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                               Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                             1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                  -5-                       Fircrest, WA 98466
                                                                               253-566-2510 ph
                                                                           joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 10 of 14



 1   RESPONSE TO NO. 7: Deny. Detainees who participate in the Voluntary Work Program at
 2   NWDC receive a $1 per day allowance in the NWDC Detainee Trust Account. Individual
 3   detainees may draw off their allowance to purchase commissary items, which are non-essentials
 4   although GEO coordinates with detainees to make available desirable items.
 5   REQUEST FOR ADMISSION NO. 8:              Please admit that The GEO Group, Inc. utilizes
     detainee-workers to maintain the interior of the Northwest Detention Center, including
 6   painting walls and buffing floors.
 7   RESPONSE TO NO. 8: Deny and admit. GEO does not employ any detainee to work for it.
 8   Detainees who choose to participate in the Voluntary Work Program may pick from various tasks
 9   selected for the Voluntary Work Program because the activities are rewarding for various reasons.
10   The Voluntary Work Program operates on the secure side. The tasks are the same kinds of
11   activities a non-detained person would do to take care of him or herself in a clean living space,
12   when living alone, or with family or roommates sharing bathroom or kitchen facilities. Voluntary
13   Work Program participants do not feed nor pick up after staff or ICE. The NWDC is maintained
14   pursuant to the terms of the ICE contract and according to federal standards, and has been so
15   maintained regardless of participation. GEO admits that participants may elect to paint a mural,
16   or touch up the wall paint, or buff the floors, depending upon the individual’s own interests and
17   how he or she wants to spend his or her time.
18   REQUEST FOR ADMISSION NO. 9:              Please admit that when detainee-workers paint
     walls and buff floors at the Northwest Detention Center, The GEO Group, Inc. does not
19   provide detainee-workers with $1 per day for their work.
20   RESPONSE TO NO. 9: Deny and admit. Detainees are not GEO’s workers. Detainees are not
21   compensated for work because GEO does not pay them to work.                  They do not have an
22   employment relationship. Detainees may choose to participate in the Voluntary Work Program.
23   If a program participant spends five minutes touching up the wall paint in a one square foot area
24   and then plays cards the rest of the day or reads a book that person will have one dollar credited
25   to the person’s balance. If the same participant decides to paint a mural that takes days to
26   complete, that person will have a dollar per day added to the person’s allowance. There is no
27
     STATE OF WASHINGTON v. GEO GROUP                                    III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                                Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                              1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                   -6-                       Fircrest, WA 98466
                                                                                253-566-2510 ph
                                                                            joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 11 of 14



 1   correlation between the dollar and the tasks performed. It simply does not matter what the person
 2   chooses to do or how much the person chooses to do.
 3   REQUEST FOR ADMISSION NO. 10: Please admit that when detainees-workers paint
     walls and buff floors at the Northwest Detention Center The GEO Group, Inc. provides
 4   detainee- workers food and/or snacks for their assistance.
 5   RESPONSE TO NO. 10: Deny and admit. Detainees who participate in the Voluntary Work
 6   Program at NWDC are allowed $1 per day regardless of their participation or activities.
 7   Sometimes there are added benefits to the tasks selected like getting extra portions of the food
 8   prepared while helping out in the kitchen. In other situations, GEO staff may exchange a snack
 9   with a detainee for his or her cooperation and support.
10   REQUEST FOR ADMISSION NO. 11: Please admit that The GEO Group, Inc.
     maintains records indicating which detainee-workers were provided $1 for their
11   participation in the Voluntary Work Program at the Northwest Detention Center.
12   RESPONSE TO NO. 11: Admit in part, deny in part. GEO can produce a document that shows
13   the allowance per participant per day.
14   REQUEST FOR ADMISSION NO. 12: Please admit that The GEO Group, Inc.
     maintains daily records detailing the type of work performed by individual detainee-
15   workers in the Voluntary Work Program.
16   RESPONSE TO NO. 12: Admit in part, deny in part.            Program participants do not have
17   employment files, reviews, or performance evaluations.       Program participants do not have
18   detailed records accounting for their time or performance in any particular tasks. VWP program
19   participants are not employees and GEO does not employ them.              The system that tracks
20   allowances also shows where the person was located when credited with participation. The report
21   does not have details about tasks performed.
22   REQUEST FOR ADMISSION NO. 13: Please admit that, since 2005, The GEO Group,
     Inc. has provided detainee-workers no more than $1 per day per individual detainee-
23   worker who participates in the Voluntary Work Program at the Northwest Detention
     Center.
24
     RESPONSE TO NO. 13: Deny. The allowance for program participation has always been one
25
     dollar per day regardless of participation. However, an individual participant may be rewarded
26
27
     STATE OF WASHINGTON v. GEO GROUP                                   III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                               Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                             1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                  -7-                       Fircrest, WA 98466
                                                                               253-566-2510 ph
                                                                           joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 12 of 14



 1   with added benefits at times depending upon the conditions of confinement and other factors
 2   affecting the security of the facility.
 3   REQUEST FOR ADMISSION NO. 14: Please admit that The GEO Group, Inc. does not
     review the work authorization of detainee-workers at the Northwest Detention Center.
 4
     RESPONSE TO NO. 14: Deny. GEO does obtain a voluntary work program participation form
 5
     from each participant. No detainee has ever shared an employment authorization document
 6
     (EAD), Form I-765 with GEO because GEO and detainees do not have an employment
 7
     relationship.
 8
     REQUEST FOR ADMISSION NO. 15: Please admit that The GEO Group, Inc. provides
 9   all tools and equipment used by detainees workers who participate in the Voluntary Work
     Program.
10
     RESPONSE TO NO. 15: Admit. The NWDC operates under correctional detention standards
11
     that limit the use of contraband on the secure side of the facility where the Voluntary Work
12
     Program is located.
13
     REQUEST FOR ADMISSION NO. 16: Please admit that The GEO Group, Inc. pays
14   some detainees, who participate in Voluntary Work Programs at other GEO operated
     facilities, more than $1 per day.
15
     RESPONSE TO NO. 16: Admitted and Denied.               This admission is confusing because the
16
     State’s definition for “detainees” means persons at the NWDC. As previously stated, sometimes
17
     program participants at the NWDC get added value out of their participation for cooperation or
18
     subject to various conditions affecting confinement or security on any given day; however the
19
     standard is one dollar per day for participation. It is the same at the facility in Aurora Colorado.
20
     However, the Voluntary Work Program at the NWDC cannot be compared to other facilities or
21
     locations that are not subject to the same standards or that do not have the same programs. GEO
22
     has a different type of facility where the rate is a bit higher, but there are no facilities anywhere
23
     operated by GEO or any other private contractor or at any federal, state, or local detention facility
24
     that pay a detainee minimum wages for participation in a work program like that at the NWDC.
25
26
27
     STATE OF WASHINGTON v. GEO GROUP                                      III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                                  Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                   -8-                         Fircrest, WA 98466
                                                                                  253-566-2510 ph
                                                                              joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 13 of 14



 1   Dated: February 5, 2018                     III BRANCHES LAW PLLC
 2
 3
                                                 By___________________________________
 4                                                  Joan K. Mell, WSBA #21319
                                                    1019 Regents Blvd. Ste. 204
 5                                                  Fircrest, WA 98466
                                                    253-566-2510 (P)
 6                                                  281-664-4643 (F)
                                                    joan@3brancheslaw.com
 7
 8                                               NORTON ROSE FULBRIGHT US LLP
                                                 Charles A. Deacon
 9                                               300 Convent St.
                                                 San Antonio, Texas 78205
10                                               Telephone: (210) 270-7133
                                                 Facsimile: (210) 270-7205
11                                               charlie.deacon@nortonrosefulbright.com
12                                               NORTON ROSE FULBRIGHT US LLP
                                                 Mark Emery
13                                               799 9th Street NW, Suite 1000
                                                 Washington, DC 20001-4501
14                                               Telephone: (202) 662-0210
                                                 Facsimile: (202) 662-4643
15                                               mark.emery@nortonrosefulbright.com
16                                               ATTORNEYS FOR DEFENDANT
                                                 THE GEO GROUP, INC.
17
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19
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27
     STATE OF WASHINGTON v. GEO GROUP                           III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                       Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                     1019 Regents Blvd. Ste. 204
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                                                                       253-566-2510 ph
                                                                   joan@3brancheslaw.com
      Case 3:17-cv-05806-RJB Document 156 Filed 11/26/18 Page 14 of 14



 1                                        CERTIFICATE OF SERVICE
 2         I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action.
 4
     On February 5, 2018, I electronically served the above GEO’s Response to Plaintiff’s First
 5
     Request For Admissions via Email to the following:
 6
 7   Office of the Attorney General
 8   La Rond Baker, WSBA No. 43610
     Marsha Chien, WSBA No. 47020
 9   800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
10   LaRondB@atg.wa.gov
     MarshaC@atg.wa.gov
11
12   Norton Rose Fulbright US LLP
     Charles A. Deacon (Pro Hac Vice)
13   300 Convent St.
     San Antonio, TX 78205
14   (210)-270-7133
     charlie.deacon@nortonrosefulbright.com
15
16   Norton Rose Fulbright US LLP
     Mark Emery (Pro Hac Vice)
17   799 9th St. NW, Suite 1000
     Washington, DC 20001-4501
18   (202)-662-0210
     mark.emery@nortonrosefulbright.com
19
           I certify under penalty of perjury under the laws of the State of Washington that the above
20
21   information is true and correct.

22         DATED this 5th day of February, 2018 at Fircrest, Washington
23
           ____________________________
24
           Joseph A. Fonseca, Paralegal
25
26
27
     STATE OF WASHINGTON v. GEO GROUP                                     III BRANCHES LAW, PLLC
28   ECF CASE NO. 3:17-cv-05806-RJB                                                 Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                               1019 Regents Blvd. Ste. 204
     FIRST REQUEST FOR ADMISSIONS.                  - 10 -                      Fircrest, WA 98466
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